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evidence of foundation deflection and that investigation revealed that the foundation deflection
resulted from heave proximately caused by a number of sources. They state that the proximate
cause was negligent construction, failure to design and build the foundation adequately to the
high volatile soil, and allege that each Defendant caused and/or contributed to the foundation
failure, failure of construction supervision, failure of engineering design in relation to this soil,
failure to adequately supervise construction relative to the f01mdation, failure to adequately
supervise to construct the drainage areas, and generally negligent construction which resulted in
water leaks and the heave effect upon the soil. They also complain that the quality of
construction throughout the house fell well below Community Standards and that various defects
currently exist that may lead or have lead the house becoming inhabitable in whole or in part.
Plaintiffs state that they engaged NSE to plan and oversee the construction of the foundation.
The house was built with a pier and beam foundation and NSE's particular responsibility was to
assure that the foundation was platmed and designed according to the codes and constructed
according to the drawings and plans for the house, and adequate to the terrain and sub-terrain.
They state that Skollar and NSE planned the struchtral, load-bearing foundation pmtion of the
construction and that their plan and drawings was reliant on a soil test report. They claim that
the foundation was negligently and inadequately designed and constructed.

They complain that the construction defects, structural and non-sh·uctural include without
limitation to the following:

    •   Cracked sheetrock throughout the interior structure; and/or
    •   Entry, exit, and/or interior doors have been unable to have secure closure, if they close at
        all; and/or
    •   Grading, compacting and/or quality and content of site and soil preparation were
        improper and allowed for ineffective drainage; and/or
    •   Site preparation and grading did not provide positive drainage on and about the premises;
        and/or
   •    Brick cracked and/or separating; and/or
   •    Foundation was cracked and/or sloped, and/or deflected, and substantially out of level.

The claims against BLACK DIAMOND's partners, as individuals, are for negligence and breach
of contract. They complain that there was damage to their propetty and belongings in the course
of construction and that BLACK DIAMOND breached the duty by causing ach1al physical
damage to their prope1ty during the construction including but not limited to damage to the
foundation, windows, walls, ceilings, floors, doors, and damage to the items purchased and paid
for by them that were physically damaged by BLACK DIAMOND.

Fmther, they state that BLACK DIAMOND's acts both in Common Law Negligence and
negligent performance of the Contract is a proximate cause of damage to the property and their
possessions. These include but are not limited to:
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    •   Inadequate design, supervision and constmction of the foundation; and
    •   Inadequate supervision by the pool and landscaping/drainage installation;

The remainder of the claims are made against the other Defendants.

DAMAGES:

    •   Loss of the benefit of the bargain;
    •   Diminution in value;
    •   Loss ofUse;
    •   Loss of quiet enjoyment;
    •   Exemplary damages;
    •   Cost of repair;
    •   Additional damages -Violations of DTPA;
    •   Attorneys and consulting fees; and
    •   Calculation of damages.

The last damage "Calculation of Damages" states all unliquidated damages are developed and
disclosed in an expert report. Please provide this t•eport.

The AAA Pleading is essentially the same as the State Pleadings except BLACK DIAMOND is
a Defendant.

With respect to the general liability policy, we refer you to the Insuring Agreement from
commercial general liability Coverage Form CG0001 (12/04) which is quoted verbatim in the
Appendix accompanying this letter.

As indicated in the Insuring Agreement, in order for a claim to be covered under the general
liability policy, there must first be an "Occurrence, within the policy period that results in
"Bodily injury, or "Property damage, as those terms are defined by the policy.

Even if the claim were to fall within the definitions and policy period, we wish to advise that
there is no coverage for damage, defect, impairment, flaw or inadequacy of your work or product
necessitating the repair, removal, replacement, recall, as provided under Coverage A, exclusions
j.(5), j .(6), m. and n. Exclusion a. excludes expected or intended injury, b. excludes contractual
liability, f. (2) excludes pollution damages, j. (3) excludes personal property in your care,
custody and control, and k. excludes damage to your product.

Further,.the policy contains exclusionary endorsement CG2294 1001 which excludes damage to
work performed by subcontractors on your behalf, and ML1217 0401 which excludes fungus,
mildew and mold damage.
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We also wish to advise you of your duties under the policy with respects to notice of claim,
occurrence:

SECTION IV- COMMERCIAL GENERAL LIABILITY CONDITIONS

2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
   a. You must see to it that we are notified as soon as practicable of an "occurrence" or an offense
       which may resulrin a claim. To the extent possible, notice should include:
      (1) How, when and where the "occurrence" or offense took place;
      (2) The names and addresses of any injured persons and witnesses; and
      (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.
   b. If a claim is made or "suit" is brought against any insured, you must:
      (1) Immediately record the specifics of the claim or "suit" and the date received; and
      (2) Notify us as soon as practicable.
       You must see to it that we receive written notice of the claim or "suit" as soon as practicable.
   c. You and any other involved insured must:
     (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
           connection with the claim or "suit";
     (2) Authorize us to obtain records and other information;
     (3) Cooperate with us in the investigation or settlement of the claim or defense against the "suit";
           and
      (4) Assist us, upon our request, in the enforcement of any right against any person or organization
           which may be liable to the insured because of injury or damage to which this insurance may
           also apply.
   d. No insured will, except at that insured's own cost, voluntarily make a payment, assume any
       obligation, or incur any expense, other than for first aid, without our consent.

Consequently, to the extent that Mid-Continent Casualty Company was prejudiced by late notice,
coverage may not apply.

We have provided you with the Insuring Agreement, policy definitions, policy exclusions and
the exclusionary endorsement referenced in tlus letter in the Appendix accompanying this letter.

The above analysis constitutes our best effort to inform you of all of the factors of which we are
currently aware that may affect our ultimate responsibility to provide coverage for the allegations
made by the Plaintiffs. By informing you of these issues, we are not waiving any rights under
any policy of insurance issued by Mid-Continent Casualty Company, or under any State or
Common Law. We expressly reserve all such rights. A final determination of coverage under
the policy has not been rendered.

We also reserve the right to rely on other policy definitions, limitations, and/or exclusions, in the
event that continued investigation gives rise to other allegations or facts which are not covered
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under the policy. Further, investigation of this claim, under reservation of rights, does not waive
any rights or conditions under the policy. All of Mid-Continent Casualty Company's rights are
fu lly reserved.

We request that you provide a completed Builder's Questimmaire, blank copy attached, and all
correspondence from the Plaintiffs respects complaints of construction defects and damages
during and after the construction and your responses thereto, and the documents shown in bold in
this letter.

Because of the coverage issues represented in this letter, you may, at your expense, retain an
attorney to represent you for these issues.

Sincerely,




Robert W. Pileggi
Senior Claim Specialist


CC:    Hotchkiss Insurance Agency, Inc.
       13105 NW Freeway, Suite 850
       Houston, TX 77040-6312

       BonnerS. Ball
       Black Diamond Builders Corp.
       750 Bearing, Suite 130
       Houston, TX 77057

       Rallin M: Welch
       Black Diamond Builders Corp.
       750 Bearing, Suite 130
       Houston, TX 77057
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                                              APPENDIX
INSURING AGREEMENT

SECTION I- COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY
1. Insuring Agreement
   a. We will pay those sums that the insured becomes legally obligated to pay as damages because of
      "bodily injury" or "property damage" to which this Insurance applies. We will have the right and duty
      to defend the insured against any "suit" seeking those damages. However, we will have no duty to
      defend the insured against any "suit" seeking damages for "bodily injury" or "property damage" to
      which this insurance does not apply. We may, at our discretion, investigate any "occurrence" and
      settle any claim or "suit" that may result. But:
     (1) The amount we will pay for damages is limited as described in Section Ill- Limits Of Insurance;
         and
     (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in
         the payment of judgments or settlements under Coverages A or B or medical expenses under
         Coverage c.
      No other obligation or liability to pay sums or perform acts or services is covered unless explicitly
      provided for under Supplementary Payments - Coverages A and B.
   b. This insurance applies to "bodily injury" and "property damage" only if:
     (1) The "bodily injury" or "property damage" is caused by an "occurrence" that takes place in the
         "coverage territory";
     (2) The "bodily injury" or "property damage" occurs during the policy period; and
     (3) Prior to the policy period, no insured listed under Paragraph 1. of Section II - Who Is An
         Insured and no "employee" authorized by you to give or receive notice of an "occurrence" or
         claim, knew that the "bodily injury" or "property damage" had occurred, in whole or in part. If
         such a listed Insured or authorized "employee" knew, prior to the policy period, that the "bodily
         injury" or "property damage" occurred, then any continuation, change or resumption of such
         "bodily injury" or "property damage" during or after the policy period will be deemed to have
         been known prior to the policy period.
   c. "Bodily injury" or "property damage" which occurs during the policy period and was not, prior to the
      policy period, known to have occurred by any insured listed under Paragraph 1. of Section II -
      Who Is An Insured or any "employee" authorized by you to give or receive notice of an
      "occurrence" or claim, includes any continuation, change or resumption of that "bodily injury" or
      "property damage" after the end of the policy period.
   d. "Bodily injury" or "property damage" will be deemed to have been known to have occurred at the
      earliest time when any insured listed under Paragraph 1. of Section II -Who Is An Insured or any
      "employee" authorized by you to give or receive notice of an "occurrence" or claim:
      (1) Reports all, or any part, of the "bodily injury" or "property damage" to us or any other insurer;
      (2) Receives a written or verbal demand or claim for damages because of the "bodily injury" or
          "property damage"; or
      (3) Becomes aware by any other means that "bodily injury" or "property damage" has occurred or
          has begun to occur.
   e. Damages because of "bodily injury" include damages claimed by any person or organization for
       care, loss of services or death resulting at any time from the "bodily injury".
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POLICY DEFINITIONS

3. "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death
   resulting from any of these at any time.
4. "Coverage territory" means:
   a. The United States of America (including Its territories and possessions), Puerto Rico and Canada;
   b. International waters or airspace, but only if the injury or damage occurs in the course of travel or
        transportation between any places included in a. above; or
   c. All other parts of the world if the injury or damage arises out of:
       (1) Goods or products made or sold by you in the territory described in a. above;
       (2) The activities of a person whose home is in the territory described in a. above, but is away for a
            short time on your business; or
       (3) "Personal and advertising injury" offenses that take place through the Internet or similar
            electronic means of communication
   provided the insured's responsibility to pay damages is determined in a "suit" on the merits, in the
   territory described in a. above or in a settlement we agree to.
5. "Employee" includes a "leased worker". "Employee" does not include a "temporary worker''.
6. "Executive officer'' means a person holding any of the officer positions created by your charter,
   constitution, by-laws or any other similar governing document.
7. "Hostile fire" means one which becomes uncontrollable or breaks out from where it was intended to
   be.
8. "Impaired property" means tangible properly, other than "your product" or "your work", that cannot be
   used or is less useful because:
   a. It incorporates "your product" or "your work" that Is known or thought to be defective, deficient,
        inadequate or dangerous; or
   b. You have failed to fulfill the terms of a contract or agreement;
   if such property can be restored to use by:
   a. The repair, replacement, adjustment or removal of "your product" or "your work"; or
   b. Your fulfilling the terms of the contract or agreement.

                                  CG 24 26 07 04
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                         AMENDMENT OF INSURED CONTRACT DEFINITION
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
Paragraph 9. of the Definitions Section is replaced by the following:
   9. "Insured contract" means:
      a. A contract for a lease of premises. However, that portion of the contract for a lease of premises
          that indemnifies any person or organization for damage by fire to premises while rented to you
          or temporarily occupied by you with permission of the owner is not an "insured contract";
      b. A sidetrack agreement;
       c. Any easement or license agreement, except in connection with construction or demolition
          operations on or within 50 feet of a railroad;
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      d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with
         work for a municipality;
      e. An elevator maintenance agreement;
       f. That part of any other contract or agreement pertaining to your business (including an
          indemnification of a municipality in connection with work performed for a municipality) under
          which you assume the tort liability of another party to pay for "bodily injury" or "property
          damage" to a third person or organization, provided the "bodily injury" or "property damage" is
          caused, in whole or in part, by you or by those acting on your behalf. Tort liability means a
          liability that would be imposed by law in the absence of any contract or agreement.
          Paragraph f. does not include that part of any contract or agreement:
        (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction
            or demolition operations, within 50 feet of any railroad property and affecting any railroad
            bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;
        (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
            (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions,
                reports, surveys, field orders, change orders or drawings and specifications; or
            {b) Giving directions or instructions, or failing to give them, if that is the primary cause of the
                injury or damage; or
         (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury
             or damage arising out of the insured's rendering or failure to render professional services,
             including those listed in (2) above and supervisory, inspection, architectural or engineering
             activities.
10. "Leased worker'' means a person leased to you by a labor leasing firm under an agreement between
    you and the labor leasing firm, to perform duties related to the conduct of your business. "Leased
    worker" does not include a "temporary worker".
13. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same
    general harmful conditions.
15."Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor,
   soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled,
   reconditioned or reclaimed.
16. "Products-completed operations hazard":
   a. Includes all "bodily injury" and "property damage" occurring away from premises you own or rent
      and arising out of "your product" or "your work" except:
      (1) Products that are still in your physical possession; or
      (2) Work that has not yet been completed or abandoned. However, "your work" will be deemed
          completed at the earliest of the following times:
         (a) When all of the work called for in your contract has been completed.
         (b) When all of the work to be done at the job site has been completed if your contract calls for
             work at more than one job site.
         (c) When that part of the work done at a job site has been put to its intended use by any person
             or organization other than another contractor or subcontractor working on the same project.
          Work that may need service, maintenance, correction, repair or replacement, but which is
          otherwise complete, will be treated as completed.
   b. Does not include "bodily injury" or "property damage" arising out of:
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      (1) The transportation of properly, unless the injury or damage arises out of a condition in or on a
          vehicle not owned or operated by you, and that condition was created by the "loading or
          unloading" of that vehicle by any insured;
      (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
      (3) Products or operations for which the classification, listed in the Declarations or in a policy
          schedule, states that products-completed operations are subject to the General Aggregate
          Limit.
17. "Property damage" means:
   a . .Physical injury to tangible property, including all resulting loss of use of that property. All such loss
      of use shall be deemed to occur at the time of the physical injury that caused it; or
   b. Loss of use of tangible property that is not physically .injured. All such loss of use shall be deemed
       to occur at the time of the "occurrence" that caused it.
   For the purposes of this insurance, electronic data is not tangible property.
   As used in this definition, electronic data means information, facts or programs stored as or on,
   created or used on, or transmitted to or from computer software, including systems and applications
   software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing devices or any other
   media which are used with electronically controlled equipment.
18. "Suit" means a civil proceeding in which damages because of "bodily injury", "property damage" or
   "personal and advertising injury" to which this insurance applies are alleged. "Suit" includes:
   a. An arbitration proceeding in which such damages are claimed and to which the insured must
       submit or does submit with our consent; or
   b. Any other alternative dispute resolution proceeding in which such damages are claimed and to
      which the insured submits with our consent.
19. "Temporary worker'' means a person who is furnished to you to substitute for a permanent "employee"
   on leave or to meet seasonal or short-term workload conditions.
20. "Volunteer worker" means a person who is not your "employee", and who donates his or her work and
   acts at the direction of and within the scope of duties determined by you, and is not paid a fee, salary
   or other compensation by you or anyone else for their work performed for you.
21. "Your product":
   a. Means:
      (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or
          disposed of by:
         (a) You;
         (b) Others trading under your name; or
          (c) A person or organization whose business or assets you have acquired; and
      (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with
           such goods or products.
   b. Includes
      (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
          performance or use of "your product"; and
     (2) The providing of or failure to provide warnings or instructions.
   c. Does not include vending machines or other property rented to or located for the use of others but
      not sold.
22. "Your work":
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   a. Means:
     (1) Work or operations performed by you or on your behalf; and
     (2) Materials, parts or equipment furnished In connection with such work or operations.
   b. Includes
     (1) Warranties or rep resentations made at any time with respect to the fitness, quality, durability,
         performance or use of "your work", and
     (2) The providing of or failure to provide warnings or instructions.

POLICY EXCLUSIONS

   This Insurance does not apply to:


   a. Expected Or Intended Injury
      "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This
      exclusion does not apply to "bodily injury" resulting from the use of reasonable force to protect
      persons or property.
   b. Contractual Liability
      "Bodily injury" or "property damage" for which the insured is obligated to pay damages by reason
      of the assumption of liability in a contract or agreement. This exclusion does not app.ly to liability for
      damages:
     (1) That the insured would have in the absence of the contract or agreement; or
     (2) Assumed in a con tract or agreement that is an "insured contract", provided the "bodily injury" or
         "property damage" occurs subsequent to the execution of the contract or agreement. Solely for
         the purposes of liability assumed in an "insured contract", reasonable attorney fees and
         necessary litigation expenses Incurred by or for a party other than an insured are deemed to be
         damages because of "bodily injury" or "property damage", provided:
        (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in
            the same "insured contract"; and
        (b) Such attorney fees and litigation expenses are for defense of that party against a civil or
            alternative dispute resolution proceeding in which damages to which this insurance applies
            are alleged.
   f. Pollution
     (2) Any loss, cost or expense arising out of any:
        (a) Request, demand, order or statutory or regulatory requi rement that any insured or others
            test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way
            respond to, or assess the effects of, "pollutants"; or
        (b) Claim or "suit" by or on behalf of a governmental authority for damages because of testing
            for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or In
            any way responding to, or assessing the effects of, "pollutants".
         However, this paragraph does not apply to liability fo r damages because of "property damage"
         that the insured would have in the absence of such request, demand, order or statutory or
         regulatory requirement, or such claim or "suit" by or on behalf of a governmental authority.
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                                          ML 11 91 04 00
                              RESIDENTIAL CONTRACTOR EXTENSION A
                                       HOMEBUILDERS DIVISION
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
Exclusion j. of COVERAGE A (SECTION I) Is hereby replaced by the following:


This Insurance does not apply to:
     j.    "Property damage" to:
          (3) Property in your care, custody and control, but this exclusion does not apply to liability
               assumed under a sidetrack agreement;
          (5) That particular part of real property on which you or any contractors or subcontractors
               working directly or indirectly on your behalf are performing operations, if the "property
               damage" arise out of those operations. This exclusion does not apply to liability assumed
               under a sidetrack agreement; or
          (6) That particular part of any property that must be restored, repaired or replaced because
              "your work" was incorrectly performed on it. This exclusion does not apply to liability
              assumed under a sidetrack agreement or to "property damage" included in the "products-
              completed operations hazard".
All other conditions remain unchanged.
   k. Damage To Your Product
      "Property damage" to "your product" arising out of it or any part of it.
  m. Damage To Impaired Property Or Property Not Physically Injured
      "Property damage" to "impaired property" or property that has not been physically injured, arising
      out of:
      (1) A defect, deficiency, Inadequacy or dangerous condition in "your product" or "your work"; or
      (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
          accordance with its terms.
      This exclusion does not apply to the loss of use of other property arising out of sudden and
      accidental physical injury to ''your product" or "your work" after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired
      Property
      Damages claimed for any loss, cost or expense incurred by you or others for the loss of use,
      withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of:
      (1) "Your product";
      (2) "Your work"; or
      (3) "Impaired property";
      if such product, work, or property is withdrawn or recalled from the market or from use by any
      person or organization because of a known or suspected defect, deficiency, inadequacy or
      dangerous condition in it.

EXCLUSIONARY ENDORSEMENTS
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                                    CG 22 94 10 01
            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                           EXCLUSION - DAMAGE TO WORK PERFORMED BY
                               SUBCONTRACTORS ON YOUR BEHALF
This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
Exclusion I. of Section I - Coverage A - Bodily Injury And Property Damage Liability is replaced by
the following:
2. Exclusions
     This insurance does not apply to:
      I. Damage To Your Work
        "Property damage" to "your work" arising out of it or any part of it and included in the "products-
        completed operations hazard".

                                           ML 121711 04
                                FUNGUS, MILDEW AND MOLD EXCLUSION
This insurance does not apply to:
1.     "Bodily injury", "property damage", "personal and advertising injury" or "medical payments" arising
       out of, resulting from, caused by, contributed to, attributed to, or in any way related to any fungus,
       mildew, mold or resulting allergens;
2.     Any costs or expenses associated, in any way, with the abatement, mitigation, remediation,
       containment, detoxification, neutralization, monitoring, removal, disposal or any obligation to
       investigate or assess the presence or effects of any fungus, mildew, mold or resulting allergens; or
3.     Any obligation to share with or repay any person, organization or entity, related in any way to items 1
       and 2.
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1304581 RWP
                                                                                                       Page 1
                                    BUILDER QUESTIONNAIRE
                                       (Answer all questions)

Please complete the following Information and return it to the Mid-Continent Group as soon
as possible. Please also include the following documents as attachments:

   •   A COPY OF THE CONTRACT BETWEEN THE BUILDER AND HOMEOWNER
   •   A COPY OF THE PUNCH LIST
   •   ALL SOILS AND ENGINEERS REPORTS IF FOUNDATION INVOLVED
   •   ALL CERTIFICATES OF INSURANCE FOR SUB-CONTRACTORS INVOLVED
   •   ALL CONTRACTS WITH SUB-CONTRACTORS INVOLVED IN CLAIM
   •   SUBSTANTIAL COMPLETION CERTIFICATE

Note: If this is not a foundation-related claim, disregard all questions referring to that issue.

Property Location:---- - - - - - - -- - - - - - - - - - - - -

Name of Contracting Entity: - - - - - -- - - - - - - - - - - - - - -
Contact Person:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _Telephone: _ _ _ _ __


1. DESCRIBE HOME FOUNDATION TYPE AND ROOF FRAMING:

   FOUNDATION TYPE:            0Siab on Grade         0Biock
                               0Pier and Beam         Ocrawl Space
                               0Basement              0Poured

   ROOF FRAMING:          0Truss              0Conventional_ _
           If Truss, who was the manufacturer?_ _ _ _ __ _ __ _ _ __




2. DESCRIBE THE EXTERNAL INSULATION FINISHING SYSTEM "EIFS" USED ON THE
   HOME:
     INSTALLER
       Name:~-------------------------
       Contact N a m e : - - - - - - - - - - - - - - - - - - - - - - -
       Address: - - - : - - - - - - - - - - - - - - - - - - - - - - - - -
       Phone Number:-------==-----=-- - - - - -- -- - - -
       Insurance Certificate:  yes D      noD (if yes, please attach)
       Written Contract:       yes D      no 0 (if yes, please attach)

       " EIFS" MANUFACTURER:
       Name:           ·~
       Contact Name:-- - - - - -- - - - -- - -- - - -- -- -
       Address: -- - - - - -- - -- - - - -- - -- - - -- - -
       Phone Number:-------==---- -= - - - - - -- -- - - --
       Insurance Certificate: yes D no 0 (if yes. please attach)
       Written Contract:      yes 0 no 0 (if yes, please attach)
                                                                                    1/ru/dcr Que.<I/OIIIIIIfrt•.dot
3. WERE YOU THE?        0   General Contractor - (Subs contracted with you)
 Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 Page 13 of 27



                        0   Construction Manager (Subs contracted with homeowner)




                                                                                    Page 2

4. ENGINEER:
   Nature of involvement, i.e. soil, slab, structural, piers, etc. - - -- - -- - - - - -
    NAME: ____________________________________________________
    Contact name:. _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ _ __ _ __
    Address: _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ _ __
    Phone number:.oo:-------:=------;::::::;---------------
    lnsurance certificate: yesD noD (if yes, please attach)
    Written contract:      yesD noD (if yes, please attach)

5. ARCHITECT:          DHomeowner's    DBuilder's
   NAME. ____________________________________________________
   Contact name:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
   Address:. _ _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ ___
   Phone number:-:------:=---- --;::,.---- - - - - - - - - - - - -
   lnsurance certificate: yesD noD (if yes, please attach)
   Written contract:      yesD noD (if yes, please attach)

6. Were there any changes from engineer and/or architect design?
   If yes, What were the changes?




7. Was foundation engineered?         yesD           noD
   If yes, what is the engineers' name, address and telephone number?




8. Were there any problems during construction:              yesD       noD
   If yes, please explain:




9. DEVELOPER
   NAME:
   Address:
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                                                                       Page 3
10. SUB-CONTRACTORS INVOLVED IN THE ALLEGED DEFECTS CLAIMED:

  NAME:
  Contact Name:
  Address:
  Telephone:
  Insurance Certificate: DYes   0No (If yes, please attach)
  Written Contract:      D Yes  0No If yes, please attach)
  Trade Involved: - -- - - - -- -- - - - - - - - - -- -- - --
  NAME:
  Contact Name:
  Address:
  Telephone:
  Insurance Certificate: DYes   0No (If yes, please attach)
  Written Contract:      DYes   0No If yes, please attach)
  Trade I n v o l v e d : - - - - - - - - - - - - - - - - - - - - - - - - - -
  NAME:
  Contact Name:
  Address:
  Telephone:
  Insurance Certificate: DYes     0No (If yes, please attach)
  Written Contract:      DYes     0No If yes, please attach)
  Trade Involved: - - - - - - - - - - - - - - - - -- - - - - - - -
  NAME:
  Contact Name:
  Address:
  Telephone:
  Insurance Certificate: DYes     0 No (If yes, please attach)
  Written Contract:      D Yes    0No If yes, please attach)
  Trade Involved: - - - - - - - - - - - - - - - -- - - - - - - - - -

  NAME:
  Contact Name:
  Address:
  Telephone:
  Insurance Certificate: DYes    0No (If yes, please attach)
  Written Contract:      DYes    0No If yes, please attach)
  Trade Involved: - - - - - -- - - - - - - -- - - - - - - - - - - -
 NAME:
 Contact Name:
 Address:
 Telephone:
 Insurance Certificate: DYes    0No (If yes, please attach)
 Written Contract:      DYes    0 No If yes, please attach)
 Trade Involved: - -- - - - - - -- -- - - -- - - -- -- - - --
 Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 Page 15 of 27



                                                                                    Page 4
11. Was there anything unusual about the property or drainage? - - -- - - - - - -




12. Were final as-built elevations obtained?    DYes        0No

13. Who did the final grading of the lot for moisture control around the finished
    foundation?---------- -- - - - - - - -- - - - - - -




14. Did the homeowner notify you of any defects during your warranty period? If so, what
    repairs were made? Were sub-contractors involved with the repairs? Who were
    they? __________________________________________




15. Were you contacted about the current complaint prior to the claim being made?
   DYes       0No        If yes, when and by whom were you contacted? _ _ _ _ __




16. Have there been any unusual weather conditions in the area that may have caused
    or contributed to the problems being complained of? _ _ _ _ __ _ _ _ __




17. Who installed slab? Foundation? footings?
   NAME:_ _ _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ _ __ __ ___
   Contact name:_ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ __
   Address: _ _ _ _ _ _ _ _ _ __ _ __ _ __ _ _ __ _ _ _ __
   Phone number: _ _ _ _--=:;:,-----;=-- - - - - -- -- - - - -
   lnsurance certificate: yesO    noD (if yes, please attach)
   Written contract:      yesO    noD (if yes, please attach)
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18. Who tensioned cables? (if applicable)                                                                            Page 5

    NAME:                                                              _____________________________________________
   C
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                                                   m
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                                                           e
                                                               _
                                                                   :
   Address:---:---------------------------------------------------
   Phone number:______--==--------=:---------------------------
   lnsurance certificate: yesO noD (if yes, please attach)
   Written contract:      yesO noD (if yes, please attach)
19. Were piers used in the original construction?                                                       DYes   DNo
    If yes, who installed them?

   NAME:~-------------------------------------------------
   Contact  name: _____ __ _ __ _ __ _________________
   Address:---::------------------------------------------------
   Phone number: _______---===--------=~-------------------------
   lnsurance certificate: yesD   noD (if yes, please attach)
   Written contract:      yesO   noD (if yes, please attach)
   Attach a copy of pier location diagram

20. Did your construction activities include the installation of an irrigation system?
   DYes                                            0No                       If yes, who installed in
   NAME:____________________________________________________
   Contact name: _____________________________________________
   Address:_________________________________________________
   Phone number:________---===--------=.---------------------------
   lnsurance certificate: yesD  noD (if yes, please attach)
   Written contract:      yesO  noD (if yes, please attach)

21. Did the homeowner have an irrigation system installed at a later date?
   DYes                                            DNo
   NAME:____________________________________________________
   Contact name: ____________________________________________
   Address:---:---------------------------------------------------
   Phone number:_______ --==-------=:--------------------- - --
   lnsurance certificate: yesD   noD (if yes, please attach)
   Written contract:      yesD   noD (if yes, please attach)
22. Does the home have a pool?                                                             DYes         0No
   If yes, was it installed under contract? OYes                                                        0 No
   If yes, provide pool contractor information below:
   NAME:____________________________________________________
  Contact name: _____ _________ _ _ _____________________
  Address: _____________________________________________ _
  Phone number:---------==-------=:--- - ---------------- ----
  Insurance certificate: yesD  noD (if yes, please attach)
  Written contract:      yesO  noD (if yes, please attach}


                                                                                                                      Page 6
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I'
     23. Do you know if the homeowner has made any changes to the home and/or property?
         DYes     0No          If yes, what was done and by whom? _ _ _ _ _ __ _




     24. When was the original construction started? - - - - - - - - - - - - - -

     25. When was it completed?


     26. What was the move in date?-- - - - -- - - -- -- -- - - - -

     27. When was the final walk through? - - -- - - - - - - - - - - - --

     28. What was the "closing date"?         Builder-------------
                                              Date

     29. What was the final price of the home? - - - - - - - - - - - - - - - -

     30. Was a home warranty policy issued?              yesD           noD
         If yes, by whom and have they been notified of the claim by the homeowner1 _ _ _ __




     31. Please provide any other information that you have that will be beneficial to our
         investigation?-------- - - - - - - - - - - -- - - - -




     As you are aware, applicable law, including but not limited to the Residential
     Construction Liability Act ("RCLA") or the Texas Deceptive Trade-Consumer Protection
     Act ("DTPA") contains certain deadlines for responding to complaints regarding
     construction defects. A failure to adhere to these deadlines may increase the types of
     damages and amounts of damages a claimant may recover.

     Prejudice, to the insurer caused by the homebuilders failure to adhere to RCLA, or DTPA
     or other deadlines may constitute a breach of conditions of the policy and may affect the
     coverage afforded under the policy.

     ***LASTLY, PLEASE PUT ON NOTICE ANY OTHER INS URANCE CARRIER THAT
     MAY BE INVOLVED PRIOR TO OR AFTER MID-CONTINENT GROUP'S, GREAT
     AMERICAN INSURANCE COMPANY, GREAT AMER ICAN LLOYDS INSURANCE
     POLICY YEARS.
   Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 Page 18 of 27



/!\\          MID-CONTINENT
              t.lid·Conlinenl Casualty Company .! Mid-Continent Assurance Company I! Oklahoma Suret1' Company

                                                     P.O. Box 2927 Tulsa. OK 74101·2927 1972)67 1-1070 Toll Free (800)841·3218
                                                     FAX (918) 586·0845 claims@mcg-ins.com

  May22, 2012


  CERTIFIED MAIL# 7010 0290 0000 9213 3591
  RETURN RECEIPT REQUESTED
  And Regular U.S.Mail

  Ms. Bonner Ball
  Black Diamond Builders Corp.
  750 Bering, Suite 130
  Houston, TX 77057

 CERTIFIED MAIL# 7010 0290 0000 9213 3607
 RETURN RECEIPT REQUESTED
 And Regular U.S.Mail

 David W. Medack, Esq.
 Heard & Medack P.C.
 9494 Southwest Freeway, Suite 700
 Houston, TX 77074

 RE:    Claim Number:               1304123
        Insured                     Black Diamond Builders Corp.
        Date ofLoss :               07/06/06 (administrative)
        Claimant                    Grier and Camille Patton
        Loss Location :             5353 Sugar Hill, Houston, TX 77056

 Dear Ms. Ball and Mr. Medack:

 Mid-Continent Casualty Company insured Black Diamond Builder's Corp. under policy number
 04-GL-000596014 for the policy period of07/07/2005 to 07/07/2006. Coverage was afforded in
 the amount of $1,000,000 each occunence limit with a $2,000,000 general aggregate limit and a
 $2,000,000 products-completed operations aggregate limit, and was subject to the Commercial
 General Liability Coverage Form (CGOOOt-1204).

 As you are aware, \:Ve were presented with copies of both an American Arbitration Association's
 Arbitration of Claims - Claimants' Original Complaint that was filed December 22, 2010 and
 Plaintiffs' Original Petition for Damages, Jury Demand and T.R.C.P. 194 Request for
 Disclosures tiled June 19, 20 ll in Harris County Texas as Cause No. 2011-42562 in the 152 11<1
 Judicial District Court.

 The style of the arbitration is Grier Palton ami Camille Patton l'S. Black Diamond Builders.
 L.L P.. .flkla Black Diamond Builders. L L. P.. Bonner S. Ball. lndividuai(JI, 11wmas H. Zenner.

                                                                                                                         EXHIBIT
                                                    ·-·-·----m~,-
                                                                ~,:-
                                                                   uu_•n_•t' - - - -......- - ..·--· -·-·       ~
                                                                                                                            J
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Claim Number: 1304123                                                                            2




Individually, Rallin M Welch, Individually, Michael Skoller, P.E., Individually, and National
Structural Engineering, Inc., Dawson-Estes, Inc., Lawrence C. Estes, Jr., Individually, Richard
P. Dawson, Individually, and Monarch Pools, Inc.

The style of the lawsuit is Grier Patton and Camille Patton vs. Bonner S. Ball, Individually,
Thomas H Zenner, Individually, Rallin M Welch, Individually, Michael Skoller, P.E.,
Individually, and National Structural Engineering, Inc., Dawson-Estes, Inc., Lawrence C. Estes,
Jr., Individually, Richard P. Dawson, Individually, and Monarch Pools, Inc.

Based upon our review of the aforementioned Arbitration of Claims- Claimants' Original
Complaint and Plaintiffs' Original Petition, the damages claimed and the nature of those
damages, and your policy, we regret that we have to inform you that there is no duty to
defend or indemnify as the cited damages involve the insured's worl<, which is excluded by
the modified Exclusion I. contained in Endorsement CG2294, which excludes such
coverage. Therefore, Mid~Continent Casualty Company will not participate in or
contribute towards any settlement, indemuification and/or defense of this claim on your
behalf.

In an effort to better assist you in reviewing and understanding your policy's coverage, we have
provided you with a copy of the pertinent portions from your policy in the Addendum
accompanying tllis letter.

Please direct your attention to the Insuring Agreement found in Coverage Form CGOOOl -1204
and note that it states "We will pay those sums that the insured becomes legally obligated to pay
as damages because of "bodily injury" or "property damage" to which this insurance applies."

Please now direct your attention to the Exclusions found in Coverage Form CG0001 -1204 and
note that the policy excludes coverage for work that is damaged, impaired, defective, deficient,
inadequate, incomplete or otherwise in need of repair or replacement as indicated in policy
Exclusions j.(4, 5 and 6 as modified by Endorsement ML1191), k., 1.( as modified by
Endorsement CG2294), m. and n .

The policy also excludes contractual liability for breach of contract and/or warranty issues under
Exclusion b.

Finally, please direct your attention to the provided Endorsement ML 1217, which excludes
damage related to any fungus, mildew, mold or resulting allergens.

The above analysis constitutes the Company's best effort to inform you of all of the factors of
which we are currently aware of that may affect our ultimate responsibility to provide coverage
and/or defense of any allegations made by the claimant in this case. By informing you of these
issues, the Company does not waive any right that they may have under any policy of insurance
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Claim Number: 1304123                                                                            3




issued by it or under any state or common law.       The Company expressly reserves any such
rights.

Furthermore, the Company reserves the right to rely on other policy definitions, limitations,
conditions, and/or exclusions in the event continued investigation, litigation and/or discovery
give rise to other allegations or facts which are not covered under the policy.

If you are aware of any fact or theory that, in your opinion, is relevant to the duty to defend or
indemnify under the policy, we welcome your thoughts and will give consideration to any
information you may provide. Should you develop any information, that bears in any way upon
coverage in this case, please bring it to our attention immediately so that we may determine if we
should reconsider our position. Please also promptly furnish us with any copies of any
subsequently filed amended petitions, or any other documentation that you may have received
for our review and reconsideration.

If you have any questions regarding this letter, please do not hesitate to contact me at telephone
number 800-841-3218, ext. 14 or email me at claims@mcg-ins.com.

Sincerely,

 ~~~
Claude Husbands
Claim Specialist

CTH: vjl


CC:    Ms. Bonner Ball
       Black Diamond Builders Corp.
       750 Bering, Suite 130
       Houston, TX 77057


CC:    David W. Medack, Esq.
       Heard & Medack P.C.
       9494 Southwest Freeway, Suite 700
       Houston, TX 77074


CC:    Hotchkiss Insurance Agency, Inc.
       13105 NW Freeway, Suite 850
       Houston, TX 77040-6312
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Claim Number: 1304123                                                                                       4




                                             ADDENDUM

The basic Insuring Agreement under Coverage Form CGOOOl-1204 of policy number 04-GL-
000596014 for the policy period of07/07/2005 to 07/07/2006 reads as follows:

SECTION I- COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY
1. Insuring Agreement
   a. We will pay those sums that the insured becomes legally obligated to pay as damages because of
      "bodily injury" or "property damage" to which this insuran~e applies. We will have the right and
      duty to defend the insured against any "suit" seeking those damages. However, we will have no
      duty to defend the insured against any "suit" seeking damages for "bodily injury" or "property
      damage" to which this· insurance does not apply. We may, at our discretion, investigate any
      "occurrence" and settle any claim or "suit" that may result. But:
     (1) The amount we will pay for damages is limited as described in Section Ill- Limits Of Insurance;
         and
     (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in
         the payment of judgments or settlements under Coverages A or B or medical expenses under
         Coverage C.
      No olher obligation or liability to pay sums or perform acts or services is covered unless explicitly
      provided for under Supplementary Payments- Coverages A and B.
  b. This insurance applies to "bodily injury" and "property damage" only if:
     (1) The "bodily injury" or "property damage" is caused by an "occurrence" that takes place in the
         "coverage territory";
     {2) The "bodily injury" or "property damage" occurs during the policy period; and
     (3) Prior to the policy period, no insured listed under Paragraph 1. of Section II - Who Is An
         Insured and no "employee" authorized by you to give or receive notice of an "occurrence" or
         claim, knew that the "bodily injury" or "property damage" had occurred, in whole or in part. If
         such a listed insured or authorized "employee" knew, prior to the policy period, that the "bodily
         Injury" or "property damage" occurred, then any continuation, change or resumption of such
         "bodily injury" or "property damage" during or after the policy period will be deemed to have
         been known prior to the policy period.
  c. "Bodily injury" or "property damage" which occurs during the policy period and was not, prior to the
     policy period, known to have occurred by any insured listed under Paragraph 1. of Section I! -
     Who Is An Insured or any "employee" authorized by you to give or receive notice of an
     "occurrence" or claim, includes any continuation, change or resumption of that "bodily injury" or
     "property damage" after the end of the policy period.
  d. "Bodily injury" or "property damage" will be deemed to have been known to have occurred at the
     earliest time when any insured listed under Paragraph 1. of Section II -Who Is An Insured or any
     "employee" authorized by you to give or receive notice of an "occurrence" or claim:
    (1) Reports all, or any part, of the "bodily injury" or "property damage" to us or any other insurer;
    (2) Receives a written or verbal demand or claim for damages because of the "bodily injury" or
        "property damage"; or
    (3) Becomes aware by any other means that "bodily injury" or "property damage" has occurred or
        has begun to occur.
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Claim Number: 1304123                                                                                        5




    e. Damages because of "bodily injury" include damages claimed by any person or organization for
       care, loss of services or death resulting at any time from the "bodily injury".

In conjunction with this Insuring Agreement, the following definitions are applicable to coverage
form CGOOOl-1204:

SECTION V- DEFINITIONS
3. "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death
   resulting from any of these at any time.
13. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same
    general harmful conditions.
17."Property damage" means:
   a. Physical Injury to tangible property, including all resulting loss of use of that property. All such loss
      of use shall be deemed to occur at the tlme of the physical injury that caused it; or
   b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed
      to occur at the time of the "occurrence" that caused it.
   For the purposes of this insurance, electronic data is not tangible property.
   As used in this definition, electronic data means Information, facts or programs stored as or on,
   created or used on, or transmitted to or from computer software, Including systems and applications
   software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing devices or any other
   media which are used with electronically controlled equipment.
18."Sult" means a civil proceeding in which damages because of "bodily injury", "property damage",
   "personal injury" or "advertising injury" to which this insurance applies are alleged. "Suit" includes:
   a. An arbitration proceeding in which such damages are claimed and to which the insured must
      submit or does submit with our consent; or
   b. Any other alternative dispute resolution proceeding In which such damages are claimed and to
      which the insured submits with our consent.

The following Exclusions under Coverage Form CGOOOl-1204, and any modifying
Endorsements to them within policy 04-GL-000596014 read as follows:

2. Exclusions
   b. Contractual Liability
      "Bodily injury'' or "property damage" for which the insured is obligated to pay damages by reason
      of the assumption of liability in a contract or agreement. This exclusion does not apply to liability
      for damages:
     (1) That the insured would have in the absence of the contract or agreement; or
     (2) Assumed in a contract or agreement that is an "insured contract", provided the "bodily injury" or
         "property damage" occurs subsequent to the execution of the contract or agreement. Solely for
         the purposes of liability assumed in an "insured contract", reasonable attorney fees and
         necessary litigation expenses incurred by or for a party other than an insured are deemed lo be
         damages because of "bodily injury" or "property damage", provided:
         (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in
             the same "insured contract"; and
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Claim Number: 1304 123                                                                                      6




         (b) Such attorney fees and litigation expenses are for defense of that party against a civil or
             alternative dispute resolution proceeding in which damages to which this insurance applies
             are alleged.

                                   ML 11 91 04 00
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
                       RESIDENTIAL CONTRACTOR EXTENSION A
                              HOMEBUILDERS DIVISION
This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      Exclusion j. of COVERAGE A (SECTION I) is hereby replaced by the following:
This Insurance does not apply to:
    j. Damage To Property
       "Property damage" to:
       (4) Personal property In your care, custod y or control, but this exclusion does not apply to liability
       assumed under a sidetrack agreement;
      (5) That particular part of real property on which you or any contractors or subcontractors working
           directly or indirectly on your behalf are performing operations, if the "property damage" arises
           out of those operations. This exclusion does not apply to liability assumed under a sidetrack
           agreement; or
      (6) That particular part of any property that must be restored, repaired or replaced because "your
           work" was incorrectly performed on it. This exclusion does not apply to liability assumed under
          a sidetrack agreement or to "property damage" included in the "products-completed operations
           hazard".

   k. Damage To Your Product
      "Property damage" to "your product" arising out of it or any part of it.

                                  CG 22 94 10 01
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                         EXCLUSION - DAMAGE TO WORK PERFORMED BY
                             SUBCONTRACTORS ON YOUR BEHALF
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
Exclusion I. of Section I - Coverage A - Bodily Injury And Property Damage Liability is replaced by
the following:
2. Exclusions
   This Insurance does not apply to:
    I. Damage To Your Work
       "Property damage" to "your work" arising out of it or any part of it and included in the "products-
       completed operations hazard".
     Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 Page 24 of 27




Claim Number: 1304123                                                                                        7




     m. Damage To Impaired Property Or Property Not Physically Injured
         "Property damage" to "impaired property" or property that has not been physically injured, arising
         out of:
        (1) A defect, deficiency, Inadequacy or dangerous condition in "your product" or "your work"; or
        (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
            accordance with Its terms.
        This exclusion does not apply to the loss of use of other property arising out of sudden and
        accidental physical injury to "your product" or "your work" after it has been put to Its intended use.
      n. Recall Of Products, Work Or Impaired Property
         Damages claimed for any loss, cost or expense incurred by you or others for the loss of use,
         withdrawal, recall, Inspection, repair, replacement, adjustment, removal or disposal of:
        (1) "Your product";
        (2) "Your work"; or
        (3) "Impaired property";
        if such product, work, or property is withdrawn or recalled from the market or from use by any
        person or organization because of a known or suspected defect, deficiency, Inadequacy or
        dangerous condition in it.

Policy 04-GL-000596014 contains the following Endorsement:
                                  · ML 12 17 04 01
            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
                                FUNGUS, MILDEW AND MOLD EXCLUSION
This insurance does not apply to:
1.    "Bodily injury''. "property damage", "personal or advertising injury" or "medical payments" arising out
      of, resulting from, caused by, contributed to, attributed to, or In any way related to any fungus,
      mildew, mold or resulting allergens;
2. Any costs or expenses associated, in any way, with the abatement, mitigation, remediation,
    containment, detoxification, neutralization, monitoring, removal, disposal or any obligation to
    investigate or assess the presence or effects of any fungus, ·mildew, mold or resulting allergens; or
3.      Any obligation to share with or repay any person, organization or entity, related in any way to
Items 1 and 2.
                                                                                                                                                   4/13/20153:13:06PM
                    Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 ChrisDaniel-DistrictClerk
                                                                               Page 25 of 27
                                                              C I V IL CASE INFORMATION SH EET                                  HarrisCounty
                                                                                                                                EnvelopeNo:4864996
                                                    2015-21206 / Court: 269
           CAUSE NUI\IBER (FOR CLERK US£ ONLI'l: - - - - - - - --                       - - --
                                                                                                                                By:CUERO,NELSON
                                                                                                          -COURT (FOR CLERK US£ Filed:4/13/20153:13:06PM
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           STYLEoGRI ER P ATT ON AND CAM I LLE P ATTON, PLAINTI FFS/ J UDGMENT- CREDITORS AND
            D AV ID      A.   FETTNER , P LAINTIF F / J UDGMENT- RECE IVER V . M ID-CONTINENT CASUALTY
                                                                     COMP ANY , D EFEND ANT
                                (e.g., John Smith v. All American Insurance Co; In rc Mary Ann Jones; In the Maner of the Estate of George Jackson)

A civil case infonnation sheet must be completed and submitted when an original petition or application is fil ed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is fil ed in a family law case. The infonnation should be the best available at
     . offil'
the lime    1 mg.

I. Contact information for person completing case information sheet:                 Names of par ties in case:                                     Person or entitv comnletine. sheet is:
                                                                                                                                                  !e!Attorney for Plaintiff/Petitioner
Name:                                    Email:                                      Plainti IT(s )/Petitioner(s ):                               0 Pro Se Plaintiff/ Petitioner
M i c h ael    A.   H irsch              mhi r sch @ ssbplaw.com                                                                                  O Titic IV-D Agency
                                                                                     Grie r P atton                                               O Other:
Address:                                 Telephone:                                  Camille Patto n a n d
l 09 N. P ost       O a k Lan e ,        713.735.8583                                                                                             Additional Panics in Child Support Case:
                                                                                     D avid A. Fettne r
S uite 300                                                                                                                                        Custodial Parent:
                                         Fax:                                       --
City/State/Zip:                          713.785.209 1                              --                                                            --
                                                                                                                                                  Non-Custodial Parent:
Hou s t o n , TX     77024                                                           Dcfendant(s)/Respondcnt(s):                                  -  -
                                         State Bar No:                                                                                            Presumed Father:



'~Q
                                         09718200                                    Mid-Conti n e nt C a s u a lty                               --
                                                                                     Com pany
                                                                                    --
                                                                                    - -
                                                                                    (Attach additional paoe.., necessaJ)• to list all pilrticsl
2. Indicate case type, or identify the most important issue in the ease (select only 1):
                                               Ci vil                                                                                         F llmily Lllw
                                                                                                                                                        Post-judgment Actions
          Contract                        Injury or Damage                       Real Property                           Mar riage Relationship             (non-Title IV-D)
Debt/ContraCI                       Q Assault/Battery                      U Eminent Domain/                            bJAnnulment                   bJ Enforcement
  O consumer/DTPA                   O construction                           Condemnation                               0 Declare Marriage Void       0 Modifi cation-Custody
  0 Debt/Conlract                   0 Dcfamation                           0 Partition                                  Divorce                       0 Modifi cation- Other
  0 Frau diM isrepresentation       Malpractice                            O Quiet Title                                  0 With Chi ldren                     Title IV-D
  O Other Debt/Contract:              0 Accounting                         0 Trespass to Try Title                        0 No Children                      g
                                                                                                                                                        Enforcement/Modification
    --                                0 Legal                              O Other Property:                                                          0 Patemity
Foreclos11re                          0 Medical
    0 Homc Equity-Expedited
                                                                               --                                                                     0 Reciprocals (UIFSA)
                                      0 0 1her Professional                                                                                           O support Order
    O Other Foreclosure                  Liabil ity: _ _
                                                                              Related to C riminal
~anchisc                            0 Motor Vehicle Accident
                                                                                                                                                               Parent-Child Relationship
      surance                                                                       Matters                                Other Family_ Law
                                    0 Premises
0   Landlord/Tenant                 Prod11ct Liability                     Q Expunction                                  0Enforce Foreign                     0Adoption/Adoption with
                                                                           0Judgment Nisi                                  Judgment                             Tennination
0   Non-Competition                   0 Asbestos/Silica
                                                                           0 Non-Disclosure                              0Habeas Corpus                       0 Child Protection
0   Partnership                       O Other Product Liability
O   Other Contract:                       List Product:                    0 Seizure/Forfeiture                          0 Name Change                        0 Child Support
                                                                           0 Writ of Habeas Corpus-                      0 Protective Order                   O c ustody or Visitation
    --                                   -      -                            Pre-indictment                              0 Removal of Disabilities            0 Gestational Parenting
                                    OOthcr Injury or Damage:
                                                                           O Othcr: _ _                                    of Minority                        0 Grandparent Access
                                        --                                                                               O Othcr: _ _                         0 Patemity/Parentage
         Employment                                              O ther Civil                                                                                 0 Tennination of Parental
0 Discrimination                     0 Administrative Appeal              0 Lawyer Discipline                                                                    Rights
0 Retaliation                        0 Antitrust/Unfair                   0 Perpetuate Testimony                                                              O Other Parent-Child:
O Tem1 ination                         Competition                        Osecuritics/Stock                                                                      -    -
Oworkers' Compensation               0 Code Violations                    0Tortious Interference
O o ther Employment:                 0 Forcign Judgment                   O Other: _ _
    --                               O lntellectual Property

             Tax                                                                              Probate & Menlllf H ellflh
 Q Tax Appraisal                     Probate/Wills/Intestate Administration                             Q Guardianship-Adult
 0 Tax Delinquency                     0 Dependent Administration                                       0 Guardianship- Minor
 O Other Tax                           O lndependent Administration                                     OMental Health
                                       O Other Estate Proceedings                                       OOthcr: _ _

3. Indicate procedure or remedy, if applicable (may select more tlla11 1):
 Q Appeal from Municipal or Justice Court               QDeclaratory Judgment                                                         bJPrejudgment Remedy
 0 Arbitration-related                                  0 Gamishment                                                                  0Protective Order
 0 Attachment                                           Olnterpleader                                                                 0 Receiver
 0Bill of Review                                        0License                                                                      0 Sequestration
 O c ertiorari                                          0Mandamus                                                                     0 Temporary Restraining Order/Injunction
 n n~~~ Ar.t inn                                             nPn<t-iunPm~nl                                                           n ru m nv~r
                  Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 Page 26 of 27
4. Indicate damages sought (do 1101 select if it is a family law case):
 I:::;! Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and anomey fees
 D Less than $100,000 and non-monetary relief
 D over $100, 000 but not more than $200,000
 D over $200,000 but not more than $1,000,000
 ~Over $1,000,000

                                                                                                                                Rev 2113
                                                                                                                                        4/13/20153:13:06PM
                   Case 4:15-cv-01371 Document 1-8 Filed in TXSD on 05/21/15 ChrisDaniel-DistrictClerk
                                                                              Page 27 of 27
                                      CIVIL PROCESS REQUEST FORM             HarrisCounty
                                                                                                                                        EnvelopeNo:4864996
                           FOR EACH PARTY2015-21206        / Court:
                                         SERVED YOU MUST FURNISH         269OF THEBy:CUERO,NELSON
                                                                 ONE (1) COPY     PLEADING
                                                                                  Filed:4/13/20153:13:06PM
                         FOR WR1TS FURNISH TWO (2) COP IES OF THE PLEADING PER PARTY TO BE SERVED

CASENUMBER: --------------------                                                        CURRENT COURT:
                                                                                                                          --------------------------------
TYPE OF INSTRUMENT TO BE SERVED (Sec Reve rse For· Types):                                           Plaintins' Original Petition


FILE DATE OF MOTION:                                                                           Month/             Day/          Yea r

SERV ICE TO BE ISSUED ON (Please List Exactly As The Name Appear s In The Pleading To Be Ser ved):
1.   NAME: Mid-Continent Casualty Company
     ADDRESS: 3 100 South Gessner Road, Suite 600, Houston, Harris County, Texas 77063-3767
     AGENT, ( ifapplicable ): Margaret A. Bounds
TYPE OF SERVICE/PROCESS TO BE ISSUED (seemersef(}r specificrype):
     SERVICE BY (check (}lie):
        0 ATTORNEY PICK-UP                       [8] CONSTABLE
        0 C IVIL PROCESS SERVER- Authorized Person to Pick-up: ----- - - - - - - - -                                                        Phone: ______ __
        0 MAIL                                   0 CERTIFIED MAIL
        0 PUBLICATION:
            Type of Publication: 0 COURTHOUSE DOOR, or
                                 0 NEWSPAPER OF YOUR CHOICE:
        0 OTHER, explain
                                                                   ATTENTION: Effective June I , 2010

    For all Services Provided by the DISTRCT CLERKS OFFICE requiring our office to MAIL something back to the
 Requesting Pa rty, we require that the Requesting Party provide a Self-Addressed Stamped Envelope with sufficient postage
                                                 for mail back. Thanks you,

**********************************************************************************************************

2.   NAME:

      ADDRESS: --- ---------------- --------------------------------------------------
      AGENT , (if applicable): -------------------------------------------------------------------------
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reversef(}rspecific type):
      SERVICE BY (check (}Ire):
         0 ATTORNEY PICK-UP                                                              0     CO NSTABLE
            0     CIVIL PROCESS SERVER- Authorized Perso n to Pick-up: ----------------                                                     Phone: ____________

            0      MAIL                                                                  0     CERTIFIED MAIL
            0      PUBLICATION:
                    Type of Publication:                 0     COURTHOUSE DOOR, or
                                                         0     NEWSPAPER OF YOUR CHOICE:
            0     OTHER, explain


ATTORNEY (OR ATTORNEY'S AGENT) REQUEST ING SERVICE:
NAME: Michael A. Hirsch                                                 TEXAS BAR NO./ID NO. 097 18200
MA ILING ADDRESS: Schlanger, Sil ver, Barg & Paine, L.L.P., 109 N. Post Oak Lane, Suite 300, Houston, TX 77024
PHONE NUMB ER: 713-735-8583                                              FAX NUMB ER: 713 -785-2091
                              area code /phone number                                            area code/ fax number

EMAIL ADD RESS: mhirsch@ssbplaw.com



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S:\Fo nns Li b\C ivil Oureau'C iv Fam Intake & Customer Svc Civintakc\C ivill'roccss Reques t Fonn                                                        Rev. 517f l 0
